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  15                      UNITED STATES DISTRICT COURT
  16          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  17
  18 Universal City Studios Productions        Case No. 2:17-cv-07496-MWF(AS)
     LLLP; Columbia Pictures Industries,
  19 Inc.; Disney Enterprises, Inc.;           REPLY IN SUPPORT OF
     Twentieth Century Fox Film                PLAINTIFFS’ MOTION FOR
  20 Corporation; Paramount Pictures           PRELIMINARY INJUNCTION
     Corporation; Warner Bros.
  21 Entertainment Inc.; Amazon Content        Date: Jan. 29, 2018
     Services, LLC; Netflix Studios, LLC,      Time: 10:00 a.m.
  22                                           Ctrm: 5A (Hon. Michael W. Fitzgerald)
                  Plaintiffs,                  Filed concurrently:
  23                                            Reply Declaration of Prof. Ian Foster
            vs.
  24
     Tickbox TV LLC,
  25
                  Defendant.
  26
  27
  28

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   1 I.      INTRODUCTION
   2         TickBox’s Opposition whistles past the undisputed evidence of its intentional
   3 promotion of TickBox TV as a device for the mass infringement of Plaintiffs’
   4 Copyrighted Works. TickBox instead claims it has changed its ways, is no longer
   5 shipping TickBox devices with easy-to-install “Themes” that give customers ready
   6 access to infringing streams, and that Plaintiffs’ motion is therefore moot. That is
   7 simply wrong.
   8         It is settled law in this Circuit that a defendant’s voluntary cessation of illegal
   9 activity does not moot a plaintiff’s entitlement to injunctive relief unless it is
  10 “‘absolutely clear that the allegedly wrongful behavior could not reasonably be
  11 expected to recur.’” LGS Architects, Inc. v. Concordia Homes of Nevada, 434 F.3d
  12 1150, 1153 (9th Cir. 2006) (quoting Adarand Constructors, Inc. v. Slater, 528 U.S.
  13 216, 222 (2000)). TickBox has not come close to making such a showing, and the
  14 evidence shows TickBox has exaggerated its claimed conversion. TickBox’s
  15 purported December software update did nothing to change the experience for
  16 existing users to utilize the TickBox software interface to access infringing streams.
  17 Those customers need only click the same “Media Player” tile that existed before
  18 and after on TickBox’s interface, and those customers can launch the same Kodi
  19 “Themes” and illicit addons that they previously installed at TickBox’s urging.
  20         TickBox’s arguments against Plaintiffs’ showing of likely success on the
  21 merits are likewise misguided. Contrary to TickBox’s argument, Plaintiffs are not
  22 suing TickBox merely for distributing an Android box. Plaintiffs’ claims are based
  23 on the mountain of evidence that TickBox has distributed TickBox TV “with the
  24 object of promoting its use to infringe copyright, as shown by clear expression or
  25 other affirmative steps taken to foster infringement.” Metro-Goldwyn-Mayer
  26 Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 919 (2005) (emphasis added). The
  27 evidence that TickBox advertised the use of its device for infringing purposes is
  28 clear, overwhelming, and undisputed. The Supreme Court held in Grokster that
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   1 encouraging others to infringe via advertising presents the “classic case” of inducing
   2 infringement, and that a defendant like TickBox that induces “is liable for the
   3 resulting acts of infringement by third parties.” Id. at 935-36. Plaintiffs’ motion
   4 should be granted.
   5 II.        ARGUMENT
   6       A.      TickBox’s Post-Complaint Modifications to its Messaging and User
   7               Interface Do Not Change the Illegal Nature of Its Operations or
                   Obviate the Need for Injunctive Relief
   8
                TickBox attempts to sidestep the overwhelming evidence of its promotion of
   9
       TickBox TV as a tool for infringement by arguing that it has made post-Complaint
  10
       changes to its website and user interface. TickBox goes so far as to proffer an
  11
       expert who has no apparent knowledge of, or experience with, TickBox’s pre-
  12
       December 21, 2017 marketing and promotion of TickBox TV or TickBox’s pre-
  13
       Complaint user interface. But TickBox cannot sweep aside its prior flagrant
  14
       conduct, nor can it rely on facts showing that TickBox explicitly encouraged its
  15
       customers to purchase and use TickBox TV to access infringing streams. Neither
  16
       controlling Ninth Circuit authority nor the evidence in the record supports
  17
       TickBox’s assertion that its voluntary actions “obviate the need” for injunctive
  18
       relief. (Opp. at 10.)
  19
                The Ninth Circuit and district courts throughout this Circuit have repeatedly
  20
       rejected arguments that a defendant’s voluntary cessation of illegal activity renders a
  21
       plaintiff’s request for injunctive relief unnecessary or moot. In LGS Architects, for
  22
       example, the defendant argued that a request for a preliminary injunction was moot
  23
       because it had “no intent” to engage in any future infringement and submitted an
  24
       affidavit from its president in support of its assertion. 434 F.3d at 1153. The court
  25
       rejected the defendant’s argument because it was not “absolutely clear” the alleged
  26
  27
  28
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   1 misconduct would not recur, and the defendant would have been “free to return to
   2 [their] old ways.”1 Id. at 1153-54 (internal quotation marks omitted).
   3         So, too, in this case. TickBox offers only self-serving statements that it has
   4 changed its advertising and removed the “links to download” illicit Kodi “Themes”
   5 in the user interface. (See Opp. at 10; Goldstein Decl. ¶¶ 21-25.) Nothing prevents
   6 TickBox from adding the now-removed Kodi “Themes” with illicit addons back to
   7 its “Select Streaming Channels” menu. Indeed, the evidence shows that it is
   8 relatively easy and straightforward for TickBox to make changes to its user interface
   9 and to push out any such changes as software updates to its customers. Foster Decl.
  10 ¶¶ 37-39; Reply Declaration of Prof. Ian Foster (“Foster Reply Decl.”) ¶¶ 10-12.
  11 Whatever TickBox did after Plaintiffs filed their complaint or this motion, TickBox
  12 can easily undo absent an injunction. TickBox’s assertions about its intentions fall
  13 far short of meeting its burden of demonstrating it is “absolutely clear” that it “will
  14 permanently refrain from future infringement.” LGS Architects, 434 F.3d at 1154.
  15         More importantly, TickBox’s December 11, 2017 software update did nothing
  16 to change its customers’ access to previously installed “Themes” and illicit addons.
  17 As Prof. Foster explains in his Reply Declaration, a TickBox customer who
  18 downloads and installs the December 11, 2017 update will view a superficially
  19   1
       Accord Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013) (“[A] defendant could
  20 engage in unlawful conduct, stop when sued to have the case declared moot, then
  21 pick up where he left off, repeating this cycle until he achieves all his unlawful
     ends”); Columbia Pictures Indus., Inc. v. Miramax Films Corp., 11 F. Supp. 2d
  22 1179, 1183 (C.D. Cal. 1998) (“[A] preliminary injunction will serve to prevent
  23 future exploitation of the complained of advertising,” even where defendants
     “voluntarily ceased use of the complained of advertisements.”); Summit Entm’t, LLC
  24 v. Beckett Media, LLC, No. CV 09-8161 PSG (MANx), 2010 WL 147958, at *4
  25 (C.D. Cal. Jan. 12, 2010) (preliminary injunction appropriate where infringing
     defendant “failed to demonstrate irrefutably a total cessation of the activities
  26 complained of”); Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 518 F.
  27 Supp. 2d 1197, 1220-22 (C.D. Cal. 2007) (granting permanent injunction because
     “[e]ven if this Court gave some credence to StreamCast’s alleged reform, it could
  28 immediately return to its prior ways”).
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   1 altered “Select Streaming Channels” menu. Foster Reply Decl. ¶¶ 18-22. With a
   2 single click of the “Media Player” button, however, that TickBox customer has
   3 instant access to the same illicit addons and streams of infringing content as he or
   4 she did prior to the update. Id. ¶¶ 19-20.
   5
   6
   7
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  16
       Customers can also access all of the Kodi “Themes” and illicit addons that they
  17
       downloaded and TickBox previously featured on its “Select your Theme” menu by
  18
       clicking the “My Apps” tile on the home screen. Id. ¶¶ 21-22. As such, TickBox’s
  19
       “voluntary actions” do nothing to change the user experience or customers’ easy
  20
       access to illicit addons. Id.
  21
               Only injunctive relief can “‘take away defendant’s discretion not to obey the
  22
       law.’” Grokster, 518 F. Supp. 2d at 1222 (quoting Canadian Lumber Trade
  23
       Alliance v. United States, 441 F. Supp. 2d 1259, 1266 (CIT 2006)).
  24
          B.      TickBox’s Merits Arguments Ignore the Legal and Evidentiary Basis
  25              for Plaintiffs’ Claims
  26           The evidence is clear that TickBox is infringing Plaintiffs’ Copyrighted
  27 Works by intentionally inducing their widespread infringement.
  28
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   1                1.     TickBox Ignores the Overwhelming and Undisputed
                           Evidence that the TickBox TV Device Was Designed for
   2
                           Infringing Use
   3
             TickBox concedes that it distributes a “device,” i.e. the TickBox TV, but
   4
       argues that neither TickBox nor TickBox TV facilitates infringement. This is
   5
       factually and legally false.
   6
             First, TickBox claims that it does not select the “Themes” presented in the
   7
       “Select your Theme” menu. (Opp. at 3.) But the evidence is undisputed that when a
   8
       TickBox TV customer turned on TickBox TV for the first time and followed the on-
   9
       screen instructions, TickBox TV presented customers with several different Kodi
  10
       “Themes”2 to choose from, each of which featured popular illicit streaming addons.
  11
       Foster Decl. ¶¶ 17-22. Moreover, the uncontroverted evidence demonstrates that
  12
       TickBox does, in fact, control the selection of “Themes” available to customers. Id.
  13
       ¶¶ 38-39. Prof. Foster observed that TickBox could and did in fact change and
  14
       update the options it presented to customers in October and December 2017. Id.;
  15
       Foster Reply Decl. ¶ 17. None of those changes, however, prevented customers
  16
       from accessing infringing streams.
  17
             TickBox falsely claims that the presence of these “Themes” on TickBox
  18
       devices “have nothing to do with Defendant.” (Opp. at 3.) To the contrary,
  19
       TickBox intentionally chooses which “Themes” to include on its “Select your
  20
       Theme” menu for the TickBox TV interface, and TickBox pushes out automatic
  21
       software updates to its customers’ TickBox TV devices. Foster Decl. ¶¶ 37-39, 41.
  22
       TickBox even helpfully told its customers that “We have noticed that a few of the
  23
       themes are not returning searches for movies or shows. We have had good
  24
       experience[s] with the Wookie Theme at this time. Please try that theme at this
  25
       time.” Id. ¶ 24, Fig. 11.
  26
       2
  27  After the filing of this lawsuit, TickBox removed the original seven “Themes,” but
     added other “Lodi Black, a Theme which included several of the original seven
  28 “Themes.” See Foster Decl. ¶¶ 44-46.
                                                -5-
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    1         Second, TickBox’s argument that TickBox TV is “simply a small computer”
    2 capable of legitimate uses does not insulate TickBox from liability for its intentional
    3 inducement of infringement. TickBox’s liability arises based on its advertising and
    4 promoting TickBox TV as a tool for infringing use, and from designing and
    5 including software on the device that encourages access to infringing streams from
    6 third-party sources. (Mot. at 4-12; Klaus Decl. ¶ 8, Exs. A-F; Foster Decl. ¶¶ 24,
    7 29, 32-33.) The Supreme Court rejected the same argument TickBox makes:
    8 “where evidence goes beyond a product’s characteristics or the knowledge that it
    9 may be put to infringing uses, and shows statements or actions directed to promoting
   10 infringement, Sony’s staple-article rule will not preclude liability.” Grokster, 545
   11 U.S. at 935.
   12                2.     Tickbox Intentionally Induces Its Customers to Access
                            Unauthorized Streams Made by Third-Party Sources that
   13
                            Directly Infringe Plaintiffs’ Public Performance Right
   14
              The evidence overwhelmingly demonstrates that TickBox intentionally
   15
        induces its customers to access unauthorized streams made by third-party sources
   16
        that directly infringe Plaintiffs’ public performance right.
   17
              First, TickBox is wrong when it argues that Plaintiffs failed to provide any
   18
        evidence that customers of TickBox TV are receiving infringing streams. (Opp. at
   19
        5.) Prof. Foster and Plaintiffs’ investigators accessed infringing content on TickBox
   20
        TVs in November 2017. Foster Decl. ¶¶ 31-36, 45; Van Voorn Decl. ¶¶ 4-6. That
   21
        suffices to establish the underlying direct infringement. See, e.g., Arista Records
   22
        LLC v. Usenet.com, Inc., 633 F. Supp. 2d 124, 150 n.16 (S.D.N.Y. 2009) (“Courts
   23
        routinely base findings of infringement on the actions of plaintiffs’ investigators.”).
   24
              Second, citing Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146 (9th Cir.
   25
        2007), TickBox argues that because its customers are not transmitting performances
   26
        of Plaintiffs’ Copyrighted Works, TickBox cannot be held secondarily liable. (Opp.
   27
        at 7.) TickBox’s reliance on Perfect 10 is misplaced. In Perfect 10, the court
   28
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    1 considered multiple theories of direct infringement, including by the defendant’s
    2 users and by third-party websites. Id. at 1169. Though the plaintiff there failed to
    3 show direct infringement by users, the court nonetheless held the defendant could be
    4 held contributorily liable for infringement based on direct infringement by third-
    5 party websites. Id. at 1169-71. Nor does Perfect 10 say anything about the public
    6 performance right or whether a third party that streams content without
    7 authorization is a direct infringer. The law is clear that such a party is a direct
    8 infringer. See Am. Broad. Cos., Inc. v. Aereo, Inc., 134 S. Ct. 2498, 2509 (2014);
    9 see also Warner Bros. Entm’t Inc. v. WTV Sys., Inc., 824 F. Supp. 2d 1003, 1010
   10 (C.D. Cal. 2011) (“Zediva”) (Internet streaming of movies and television shows
   11 from remote DVD players to users is a public performance); Mot. at 17-18. Perfect
   12 10 does not change the fact that where, as here, a defendant’s customer uses the
   13 product as intended and encouraged—to receive infringing streams transmitted by a
   14 third party—there is inducement liability for the resulting infringement.
   15         TickBox further confuses the issue by suggesting that, for all forms of
   16 secondary liability, Perfect 10 requires that a defendant have the right and ability to
   17 control the acts of third parties or that the defendant obtain a direct financial benefit
   18 from the infringing activity. (Opp. at 8.) Those are elements of a claim for
   19 vicarious liability, but as the Perfect 10 court recognized, contributory liability and
   20 inducement claims are distinct claims that require no such showing. See Perfect 10,
   21 508 F.3d at 1170-73; see also Grokster, 545 U.S. at 930, n.9 (“Because we resolve
   22 the case based on an inducement theory, there is no need to analyze separately
   23 MGM’s vicarious liability theory.”).
   24         Third, TickBox cannot avoid liability for inducing copyright infringement
   25 merely because the direct acts of infringement that result from its conduct also
   26 involve wrongful conduct by third parties. Fung and Grokster foreclose that
   27 argument. In Fung, the defendant operated websites that organized and altered
   28 “tracker” torrent files that allowed users to more easily locate infringing content
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    1 available on third-party sources. Columbia Pictures Indus., Inc. v. Fung, 710 F.3d
    2 1020, 1028-29 (9th Cir. 2013). Fung did not host any infringing content. Nor did
    3 his websites “provide the client programs [individuals] used to download” the
    4 content; “nor did he develop the BitTorrent protocol,” which the end-users utilized
    5 to obtain infringing downloads. Id. at 1032-33. Fung did encourage his users to
    6 upload “tracker” torrent files to his websites, but those files did not contain any
    7 copyrighted content. Instead, users utilized the “tracker” torrent files to locate third-
    8 party sources of infringing content. Fung and the users of his sites thereby
    9 contributed to an ecosystem of infringement and encouraged further infringing
   10 activity by making it easier for others to locate and obtain infringing content. These
   11 “culpable actions resulting in the impermissible reproduction of copyrighted
   12 expression” were sufficient to support inducement liability. Id. at 1033.
   13         Fung’s analysis follows from Grokster’s direction to analyze secondary
   14 liability rules “in light of rules of fault-based liability derived from the common
   15 law.” Perfect 10, 508 F.3d at 1170 (internal quotation marks omitted). These
   16 common law rules teach that where an “actor knows that the consequences are
   17 certain, or substantially certain, to result from his [or her] act, and still goes ahead,
   18 he [or she] is treated by the law as if he [or she] had in fact desired to produce the
   19 result.” Id. at 1171 (quoting Restatement (Second) of Torts § 8A cmt. b (1965)).
   20 TickBox’s attempt to distinguish Grokster and Fung as “peer-to-peer file sharing”
   21 cases is a distinction without a difference. Indeed, their framework describes
   22 TickBox to a tee. TickBox knowingly and intentionally acts as an intermediary
   23 between its customers and third-party sources that transmit infringing streams of
   24 content. That TickBox or its customers do not transmit streams does not alter the
   25 infringing nature of TickBox’s activities. Each time a TickBox customer selects a
   26 link to a third-party source of infringing content, and that source transmits an
   27 infringing stream to the TickBox TV user, the third-party source directly infringes
   28 the public performance right. TickBox, by promoting and encouraging its
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    1 customers to access illegal streams, intentionally and materially increases the
    2 volume of infringing streams. See, e.g., Perfect 10, 508 F.3d at 1172 (“There is no
    3 dispute that Google substantially assists websites to distribute their infringing copies
    4 to a worldwide market and assists a worldwide audience of users to access
    5 infringing materials.”). TickBox serves as an intermediary with the explicit
    6 expectation that its customers will access infringing streams transmitted by third-
    7 party sources. As there is no dispute that third-party sources infringe Plaintiffs’
    8 public performance right, the “direct acts of infringement” element is satisfied.
    9               3.     TickBox’s Objective of Promoting and Inducing
                           Infringement Is Clear
   10
   11        The evidence overwhelmingly demonstrates that TickBox is intentionally
   12 inducing infringement.
   13       First, TickBox concedes that TickBox TV, by design, provides customers
   14 with a user-friendly interface and the means by which to obtain easy and immediate
   15 access to popular infringing content. TickBox provides this access by selecting and
   16 presenting its customers with the most popular “Themes,” which it then required
   17 customers to download and install in order to use TickBox TV. Foster Decl. ¶¶ 15-
   18 23. TickBox baldly asserts there is no evidence that TickBox updates the “Themes”
   19 or offers technical support for the “Themes.” (Opp. at 4.) But Prof. Foster clearly
   20 identifies how TickBox TV is designed to automatically check for software updates
   21 when turned on and how TickBox issued various software updates changing the
   22 available “Themes.” Foster Decl. ¶¶ 37-39, 41-44. The evidence likewise shows
   23 that TickBox responded to customer inquiries on its Technical Support webpage
   24 about certain “Themes” “not returning searches for movies or shows,” and
   25 instructed customers to “try” the “Wookie Theme.” Id. ¶ 24, Fig. 11. Prior to the
   26 filing of this action, TickBox also offered instructional videos and answers to
   27 “Frequently Asked Questions” that walked customers through the process of using
   28
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    1 illicit addons to access infringing movies still in theaters. Foster Decl. ¶¶ 24-30, 36-
    2 44; Mot. at Parts II.B, C.
    3        Second, TickBox does not deny that its advertising and promotion of TickBox
    4 TV make clear that the purpose and function of TickBox TV is to make it easy and
    5 “effortless[]” for customers to stream as much high-quality infringing content as
    6 possible without having to pay for that content. (Mot. at 19.) Under Grokster,
    7 encouraging others to infringe via advertising is the “classic case” of inducing
    8 infringement. 545 U.S. at 935-36.
    9        TickBox claims that its advertising is just as innocuous as advertisements by
   10 other device makers and distributors. (Opp. at 11.) The difference between the ads
   11 for Roku and Amazon Fire TV, on the one hand, and the TickBox advertising that
   12 Plaintiffs discussed, is night and day. (Compare Mot. at 1, 5, 10-13 with Goldstein
   13 Decl. ¶¶ 28-29.) Among other differences, only TickBox promises that, by using
   14 the TickBox TV for its intended purpose, customers will have “ABSOLUTELY
   15 FREE” access to content that they otherwise would have to pay for.
   16        Third, TickBox asserts that Grokster is distinguishable because TickBox
   17 “does not profit if users access unauthorized content” and it does not “replace or
   18 compete” with a known infringer. (Opp. at 8.) This is inapposite. TickBox has
   19 explicitly encouraged its customers to purchase and use TickBox TV to infringe
   20 Plaintiffs’ Copyrighted Works. The Grokster Court considered, first and foremost,
   21 evidence that the defendants had advertised and promoted their products as tools of
   22 infringement. 545 U.S. at 925-26 (describing profits and business model as
   23 evidence “[i]n addition to … evidence of express promotion, marketing, and intent
   24 to promote” infringement). As described above and in Plaintiffs’ Motion, TickBox
   25 explicitly promoted, marketed, and advertised TickBox TV as a tool of mass
   26 infringement. Moreover, TickBox does profit from infringement. The express and
   27 advertised purpose of TickBox TV is to give customers access to popular infringing
   28 content “ABSOLUTELY FREE” once customers purchase the device.
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    1         TickBox contends that, unlike Grokster, it does not compete with known
    2 infringers, but instead “competes” with legitimate services. (Opp. at 8.) TickBox,
    3 of course, does compete with other distributors of similarly illicit devices. See, e.g.,
    4 Netflix Studios, LLC v. Dragon Media Inc., No. 2:18-cv-00230-MWF-AS (C.D. Cal.
    5 2018). The fact that TickBox also competes with—indeed, advertises itself as a
    6 replacement for—licensed content providers only amplifies the harm from its
    7 infringing conduct. See, e.g., A&M Records, Inc. v. Napster, Inc., 1114 F. Supp. 2d
    8 896, 910-11 (N.D. Cal. 2000) (“[I]n choosing between the free Napster service and
    9 pay-per-download sites, consumers are likely to choose Napster.”), aff’d in relevant
   10 part, 239 F.3d 1004 (9th Cir. 2001). TickBox “competes” with legitimate services
   11 by telling customers that they can access the same content available from legitimate
   12 distributors “ABSOLUTELY FREE” and that customers therefore “will find that
   13 you no longer need those subscriptions.” Klaus Decl. Exs. A, E.
   14         Fourth, TickBox concedes it has taken no steps to develop or implement
   15 mechanisms to diminish the infringing activity. See Grokster, 545 U.S. at 939.
   16 While this fact alone may not establish the requisite intent to induce infringement, it
   17 “corroborate[s]” the other evidence in the record that TickBox intentionally induces
   18 infringement. Fung, 710 F.3d at 1036. TickBox relies on a disclaimer on the
   19 bottom of its webpage—this time in microscopic font rather than all-capitals—that
   20 informs customers that they should not use TickBox TV “for illegal purposes.”
   21 (Opp. at 9.) This self-serving disclaimer means little given TickBox’s explicit
   22 encouragement and instructions to customers on how to access infringing content.
   23 “[A]ctions speak louder than words,” and TickBox’s “lip service” to the copyright
   24 laws cannot defeat the clear evidence of TickBox’s intent to induce and foster
   25 copyright infringement. Usenet.com, 633 F. Supp. 2d at 153, n.20.
   26               4.     TickBox Causes Infringement
   27         TickBox is responsible for its conduct in inducing and promoting the use of
   28 TickBox TV for infringing activity. Under Grokster, the “culpable act is not merely
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    1 the encouragement of infringement but also the distribution of the tool intended for
    2 infringing use.” Grokster, 545 U.S. at 940, n.13. TickBox promotes and distributes
    3 TickBox TV for infringing use, and its customers use TickBox TV in precisely the
    4 manner that TickBox intends: to access infringing streams from unauthorized third-
    5 party sources. TickBox’s argument that the customers’ installation of the Themes
    6 and their reliance on infringing third-party websites ignores Grokster. There, the
    7 Court held that inducing conduct is itself actionable. Id. at 937-41. TickBox
    8 purposefully serves as an intermediary between its customers and an infringing
    9 ecosystem where third-party sources offer and transmit infringing streams to the
   10 public. TickBox’s conduct very much causes infringement.
   11     C.      TickBox Is Causing Irreparable Harm to Plaintiffs
   12          Beyond legally erroneous assertions that Plaintiffs have failed to show that
   13 TickBox customers infringe Plaintiffs’ Copyrighted Works, see Part II.B.2 supra,
   14 TickBox does not dispute that unauthorized streaming causes Plaintiffs’ irreparable
   15 harm that can only be remedied by injunctive relief.
   16       TickBox’s past and ongoing inducement of unauthorized streaming deprives
   17 Plaintiffs of their exclusive rights to control how, when, and to whom they will
   18 disseminate their Copyrighted Works. As described in Part II.A supra, TickBox TV
   19 customers still can access unauthorized streams of Plaintiffs’ Copyrighted Works by
   20 means of the same “Themes” that TickBox encouraged its customers to download
   21 and use. This unauthorized streaming infringes Plaintiffs’ exclusive rights, causes
   22 irreparable harm to the legitimate market for online streaming of Plaintiffs’
   23 Copyrighted Works, and threatens Plaintiffs’ relationships and goodwill with
   24 authorized licensees. (Mot. at 21-22.) Courts have found such harms sufficient to
   25 justify injunctive relief. See, e.g., Disney Enters., Inc. v. VidAngel, Inc., 869 F.3d
   26 848, 866 (9th Cir. 2017).
   27
   28
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    1          TickBox asserts that Plaintiffs’ claimed harms are speculative (Opp. at 13),
    2 but courts consistently find these harms to be sufficient. See, e.g., Disney Enters.,
    3 Inc. v. VidAngel, Inc., 224 F. Supp. 3d 957, 975-76 (C.D. Cal. 2016).
    4          TickBox does not and cannot claim that money damages will be sufficient to
    5 compensate Plaintiffs for these harms, or that TickBox will be able to satisfy the
    6 ultimate damages award in this case. (Mot. at 23.)
    7          TickBox also suggests that the fact Plaintiffs did not file this Motion with
    8 their Complaint (they filed it less than 60 days later) indicates a lack of harm. That
    9 is simply wrong. “[C]ourts are loath to withhold relief solely because of delay,
   10 which is not particularly probative in the context of ongoing, worsening injuries.”
   11 VidAngel, 869 F.3d at 866 (quotation omitted). TickBox itself has boasted that its
   12 popularity is “growing by leaps and bounds.” See VidAngel, 224 F. Supp. 3d at 976;
   13 Klaus Decl. ¶ 8; Mot. at 13-14.
   14     D.      The Balance of Hardships Strongly Favors Plaintiffs
   15          TickBox claims that an injunction prohibiting it from directly infringing or
   16 inducing infringement would “entirely destroy Defendant as an enterprise,” but that
   17 is a function of TickBox’s intentional decision to build its business on a foundation
   18 of infringement. It is a “long-settled principle that harm caused by illegal conduct
   19 does not merit significant equitable protection.” VidAngel, 869 F.3d at 867; Mot. at
   20 24. On the other hand, if TickBox is sincere in its claims that it has no interest in
   21 distributing a product that its customers will use to infringe Plaintiffs’ rights, then
   22 there is no hardship in requiring TickBox to stop distributing TickBox TV with
   23 software that facilitates infringement, including “Themes” that feature illicit addons.
   24          TickBox’s assertion that the proposed injunction is vague and overly broad
   25 also lacks merit. (Opp. at 11-13.) The proposed injunction is narrowly tailored to
   26 address TickBox’s culpable conduct: inducing the infringement of Plaintiffs’
   27 Copyrighted Works. Courts have used similar language enjoining defendants from
   28 engaging in copyright infringement. See, e.g., VidAngel, 224 F. Supp. 3d at 979
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    1 (enjoining “Defendants, as well as their officers, employees, attorneys, and those
    2 acting in concert with them” from “infringing by any means, direct or indirectly,
    3 Plaintiffs’ exclusive rights under § 106”); Fox TV Stations, Inc. v. FilmOn X LLC,
    4 No. 13-cv-00758-RMC, Dkt. No. 34 (enjoining “Defendants, and all of their
    5 parents, subsidiaries, affiliates, officers, agents, servants, employees, attorneys, and
    6 those persons in active concert or participation with them who receive actual notice”
    7 from “streaming, transmitting, retransmitting, or otherwise publicly performing,
    8 displaying, or distributing any Copyrighted Programming”). The injunction would
    9 not prevent TickBox or anyone else from accessing authorized content.3
   10        Under 17 U.S.C. § 503(a) and (b), the Court has the authority to impound
   11 infringing articles and devices, and “[i]mpoundment of items … is appropriate if
   12 plaintiff[s] …. demonstrate[] a likelihood of success on the merits.” U2 Home
   13 Entm’t, Inc. v. Bowery Music City, Inc., No. 03 Civ. 8909(RJH), 2003 WL
   14 22889738, at *1 (S.D.N.Y. Dec. 8, 2003). TickBox has demonstrated it has no
   15 interest in ending its customers’ continued and ongoing infringing activity.
   16 Impoundment of devices still in TickBox’s control is appropriate to prevent
   17 TickBox from inflicting even more irreparable harm on Plaintiffs. (Mot. at 21-23.)
   18        TickBox offers no evidence that it cannot, with ease, implement a software
   19 update or otherwise remotely change the TickBox TV interface to remove
   20 customers’ easy access to the “Themes” and corresponding illicit addons that
   21 TickBox encouraged, if not required, its customers to download and install on
   22 TickBox TVs. TickBox asserts that the requested injunctive relief would “require
   23 Defendant to hack into and delete content which its customers have downloaded to
   24 the Box,” (Opp. at 12-13), but the injunction asks for nothing more than what
   25
   26   3
        Nor is TickBox’s concern that it cannot engage in authorized uses of Plaintiffs’
   27 Copyrighted Works a reason to deny Plaintiffs’ Motion. Though the proposed
      injunction clearly only prohibits infringing conduct, e.g., unauthorized uses, this
   28 Court may also amend the proposed language to address TickBox’s concern.
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    1 TickBox has already demonstrated it can do: remotely update customers’ TickBox
    2 TV devices to change the menus and options that its customers view on their
    3 TickBox TVs. The proposed injunction would merely obligate TickBox to make
    4 good on its halfhearted and ineffective efforts to do what it claims to have already
    5 done: remove Kodi builds with illicit addons from TickBox TV. As demonstrated
    6 by TickBox’s own, repeated software updates since the filing of Plaintiffs’
    7 Complaint, TickBox has the means and ability to easily and remotely change what
    8 options users see and can access on their TickBox TVs. If, as Prof. Foster infers,
    9 TickBox utilizes Appy, a service which allows TickBox to conduct its remote
   10 management of customers’ TickBox TVs, then TickBox has the technical ability to
   11 “change everything about [TickBox TV’s] interface and functionality remotely.”
   12 Foster Reply Decl. ¶ 10.
   13     E.      Enjoining TickBox Will Further the Public Interest
   14          TickBox has not and cannot dispute that enjoining its infringing activities
   15 would further the public interest. (Mot. at 24.) This factor plainly weighs in favor
   16 of injunctive relief. VidAngel, 869 F.3d at 867 (describing “compelling” public
   17 interest in protecting copyright owners’ rights).
   18 III. CONCLUSION
   19
               For the reasons stated, Plaintiffs respectfully request that the Court grant their
   20
        motion.
   21
   22
        DATED: January 12, 2018               MUNGER, TOLLES & OLSON LLP
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   25                                         By:        /s/ Kelly M. Klaus
   26                                             KELLY M. KLAUS
                                              Attorneys for Plaintiffs
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